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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ROBERT M. HALKITIS,                                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   19-CV-11753 (JMF) (GWG)
                  -v-                                                  :
                                                                       :           ORDER
NEW YORK CITY DEPARTMENT OF EDUCATION :
et al.,                                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

        As stated at the pretrial conference held today:

       Plaintiff shall comply with his outstanding discovery obligations by responding to
        Defendants’ second set of October 9, 2020 document requests no later than January 19,
        2021.

       The expert discovery deadline is extended nunc pro tunc to February 12, 2021, for the
        sole purpose of allowing Defendants to depose Plaintiff’s expert.

       Defendants shall file any Daubert motion and any motion for summary judgment no later
        than March 15, 2021. Plaintiff shall file any opposition no later than April 15, 2021.
        Defendants shall file any reply no later than April 29, 2021.

       By separate order to be entered today, the Court refers this case to Magistrate Judge
        Gorenstein to conduct a settlement conference.

        SO ORDERED.

Dated: January 12, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
